     Case: 1:17-cv-09286 Document #: 112 Filed: 11/12/19 Page 1 of 2 PageID #:1243




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DEVON BANK as the Guardian of the Estate of                   )
ALAYNA HIKE, a minor, and                                     )
RHONDA JONES, Individually,                                   )
                                                              )      Hon. John Z. Lee
                 Plaintiffs,                                  )
                                                              )      Case No.: 1:17-cv-09286
v.                                                            )
                                                              )
UNITED STATES OF AMERICA, and VHS WEST                        )
SUBURBAN MEDICAL CENTER, INC. d/b/a                           )
WEST SUBURBAN MEDICAL CENTER                                  )
                                                              )
                 Defendants.                                  )

                        ORDER APPROVING PLAINTIFFS’ PETITION
                          TO APPROVE SETTLEMENT OF MINOR

          WHEREAS Plaintiffs have settled all causes of action against Defendant United States of

America arising under and pursuant to the Federal Tort Claims Act and West Suburban Medical

Center;

          IT IS HEREBY ORDERED that said settlements were made in good faith; their terms

are fair and reasonable; and their terms are in the best interest of Alayna Hike, a minor, and Rhonda

Jones;

          IT IS HEREBY ORDERED that the settlement is approved by this Court as to the

Defendant United States of America, to be distributed as follows:

             a. $3,750,000.00 payable to Beam Legal Team, LLC, said sum representing the total
                attorney fees payable pursuant to the contingency fee, FTCA and 28 U.S. Code
                § 2678, which is fair and reasonable;

             b. $236,045.93 payable to Beam Legal Team, LLC, said sum representing
                reimbursement for attorney costs expended in this matter as counsel to Plaintiffs,
                which is fair and reasonable;

                                                 1
   Case: 1:17-cv-09286 Document #: 112 Filed: 11/12/19 Page 2 of 2 PageID #:1244




           c. $39,352.43 payable to Equian in care of CountyCare Health Plan (an IL Medicaid
              plan);

           d. $44,269.90 payable to Equian in care of Molina Healthcare of Illinois (an IL
              Medicaid plan);

           e. $7,000,000.00 payable to Brant, Hickey & Associates, general agent for Settlement
              Advisors, LLC to purchase an annuity as set out in the Irrevocable Reversionary
              Inter Vivos Grantor Medical Care Trust For The Benefit of Alayna Hike, Exhibit
              E;

           f. $500,000.00 payable to the Irrevocable Reversionary Inter Vivos Grantor Medical
              Care Trust For The Benefit of Alayna Hike;

           g. $3,430,331.74 payable to Devon Bank, as Guardian of the Estate of Alayna Hike;

       IT IS HEREBY ORDERED that the settlement is approved by this Court as to the

Defendant West Suburban Medical Center, the distribution of which is reflected on Attachment A,

filed under seal, to preserve the Parties’ confidential agreement.

       IT IS HEREBY ORDERED that the Probate expenses claimed herein appear reasonable,

however, reimbursement of the same must be obtained from the Probate estate.

       IT IS HEREBY ORDERED that Plaintiffs’ causes of action against the Defendants

United States of America and West Suburban Medical Center are hereby dismissed with prejudice

and without costs.




       Dated: 11/12/19                                __________________________
                                                      Hon. John Z. Lee




                                                 2
